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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DIANE ARNOLD                           )
                                       )
                      Plaintiff,       )
                                       )
          vs.                          )                      Case No. 19-cv-4187
                                       )
ROUNDY’S ILLINOIS, LLC d/b/a MARIANO’S )
                                       )
                                       )
                      Defendant.       )

         NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT

        NOW COMES the Defendant, ROUNDY’S ILINOIS, LLC, d/b/a MARIANO’S, by and

through its attorneys, TARA A. RYNIEC of KOPKA PINKUS DOLIN PC, pursuant to 28 USC

§ 1332, 1441, NS 1446 and hereby submit their Notice of Removal of this case from the Circuit

Court of Cook County to the United States District Court for the Northern District of Illinois,

Eastern Division. In support of this Notice of Removal, Defendant states as follows:

        1.      This matter arises out of a slip and fall incident that occurred on 22nd day of July,

2017, at the Mariano’s store located at 784 Skokie Blvd., Northbrook, Illinois. See Plaintiff’s

Complaint, attached as Exhibit A, filed in the Circuit Court of Cook County, Law Division, under

Docket Number 2019 L 004938.

        2.      In her Complaint, Plaintiff alleges that she suffered “severe and permanent

injuries.” Plaintiff further prays for “a sum in excess of FIFTY THOUSAND DOLLARS plus

costs of this action.” (See Exhibit A, plaintiff’s Prayer for Relief). The plaintiff alleges personal

injuries as a result of this slip and fall incident.
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        3.     Upon information and belief, Plaintiff’s counsel has indicated that Plaintiff’s right

knee injury will require a future right knee replacement surgery, and that the special damages

claimed are expected to be in excess of $75,000.00. ($75k)

        4.     All that is required for Removal based on Diversity Jurisdiction is a “reasonable

probability” that more than $75,000.00 is in controversy. See Rising-Moore v. Red Roof Inns, Inc.,

435 F.3d 813, 815 (7th Cir. 2006). The nature of the claim alleged in the Complaint at Law usually

makes it simple for a judge to determine whether it is more likely true than not that the amount in

controversy exceeds the jurisdictional requirement. See McCoy v. General Motors Corp., 226

F.Supp.2d 939, 941-942 (N.D. Ill. 2002) (the amount in controversy is generally “obvious from a

common sense reading of the Complaint”).

        5.     Here, Plaintiff has complied with Illinois pleading requirements, which only allow

a Plaintiff to assert that his/her damages are greater or less than a certain jurisdictional amount. In

this case, Plaintiff is seeking damages “in excess of FIFTY THOUSAND DOLLARS plus costs

of this action” based on Plaintiff was caused to become injured and sustain damages.

        6.     Based upon the allegations in Plaintiff’s Complaint and Plaintiff’s special damages

and injuries, there is a reasonable probability that the amount in controversy in this case exceeds

$75,000.00, exclusive of interest and costs.

        7.     Upon information and belief, and based upon Plaintiff’s Complaint, Plaintiff is a

resident and citizen of the state of Illinois at all relevant times, residing at 2438 Briarford Ln,

Northbrook, IL 60062.

        8.     At all times herein mentioned, Defendant Roundy’s Illinois LLC, a Wisconsin

corporation with its principal offices in Milwaukee, Milwaukee County, Wisconsin. (See attached
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Exhibit B). Defendant, Roundy’s Illinois, LLC was served on May 29, 2019. (See attached

Exhibit C).

        9.     Accordingly, for purposes of determining whether Diversity Jurisdiction exists

under 28 USC §1332C1, at all relevant times, Plaintiff was a resident and citizen of the state of

Illinois and the Defendant has not been a resident or citizen of the state of Illinois.

        10.    For the foregoing reasons, this is an action wherein the United States District Court

for the Northern District of Illinois, Eastern Division, has original jurisdiction, pursuant to 28 USC

§ 13320 because the matter in controversy exceeds the value of $75,000.00, exclusive of costs and

interest, and the defendant conducts business in a different state.

        11.    Accordingly, Diversity Jurisdiction exists and this lawsuit was properly removed

to this Court Pursuant to 28 USC § 1441 and § 1446b.

        12.    This Notice of Removal was timely filed by the Defendant within the time frame

allotted by this Court pursuant to 28 USC § 1446b.

        13.    Plaintiff’s counsel has been or will be served with written notice of this Notice of

Removal in accordance with the Federal Rules OF Civil Procedure.

        WHEREFORE, Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a Mariano’s, pursuant to 28

USC § 1441, remove this action from the Circuit Court of Cook County to this Court for Further

Proceedings, and further, for any additional relief that the Court deems just.

        DEFENDANT DEMAND TRIAL BY JURY.

                                               Respectfully submitted,

                                               ROUNDY'S ILLINOIS, LLC,

                                               By: /s/Tara A. Ryniec
                                                       Attorney for Defendant
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                                CERTIFICATE OF SERVICE

         I the undersigned, certify that a true and correct copy of the foregoing was either
electronically served or mailed by United States mail at 200 West Adams Street, Chicago, Illinois,
first class postage fully prepaid, this 21st day of June, 2019, to the following:

Thomas M. Paris
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                                              /s/ Tara A. Ryniec
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